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tiff@harrisdefense.com

Attorney for Cyrus Sullivan



                                        UNITEP STATES DISTRICT COURT

                                          FOR THE DISTRICT OF OREGON

                                                   PORTLAND DIVISION


       UNITED STATES OF AMERICA,                                         3:17-CR-00306-HZ

                               Plaintiff,                                DECLARATION IN SUPPORT
                                                                         OF DEFENSE MOTION FOR
          v.                                                             REVIEW OF DETENTION

        CYRUS ANDREW SULLIVAN.

                               Defendant.




          I, Tiffany A. Harris, being first duly sworn upon oath, do depose and say:

          1.         I make this declaration in support of Mr. Sullivan's request for a review of

detention or, in the alternative, for a transfer to 9olumbia County jail to (1) restore effective and

regular contact between Mr. Sullivan and his defense team; (2) safeguard the privacy of his legal

mail and the security of his legal papers; and (3) place him in close proximity to Oregon Health

Sciences University, where he can receive needed medical treatment, as set forth below.

          2.         Sheridan Federal Detention Center is approximately 53 miles from downtown

Portland. The average driving time is approximately an hour and a half each way. There are two

methods for scheduling attorney-client visits at Sheridan:                     (1) arriving on site with proper

credentials and requesting a visit on a walk-in basis, subject to the availability of attorney-client

meeting rooms; or (2) emailing a request (ahead of time) to meet with a client and reserving an

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attorney-client meeting room. Many attorneys opt for the second method so that attorney-client

meetings can proceed as scheduled, without delays.                       Attorneys can also email requests to

schedule un-monitored attorney-client phone calls.                       There is no known mechanism for

scheduling attorney-client contact by telephone; it must be scheduled via email.

          3.        Mr. Sullivan's defense team has not had face to face contact with Mr. Sullivan

since November 29, 2017. Prior to that date, all of our requests to schedule attorney-client visits

were answered and confirmed within three days, as was typical. For example, on November 2,

2017, I emailed a request to Sheridan to conduct an attorney-client meeting with Mr. Sullivan on

November 7, 2017. Sheridan (through its scheduler) responded on the same day and confirmed

the meeting.

          4.         On December 12, 2017, Mr. Sullivan's defense team requested permission to

meet with Mr. Sullivan on December 20, 2017. On December 15, 2017, Sheridan confirmed the

meeting via email. On December 20, 2017, Mr. Sullivan's defense team (investigator Steve

Wilson, co-counsel Matthew McHenry and I) arrived from Portland at Sheridan for the

previously scheduled attorney-client meeting. We were not permitted to conduct the meeting or

to speak with Mr. Sullivan by phone. Without offering any additional information, staff at the

front desk repeated that Mr. Sullivan had been transferred to the SHU the night before.

          5.         Two days later, on December 22, 2017 at 7:42 a.m., I sent an email to Sheridan

requesting a 15-minute, unmonitored phone call with Mr. Sullivan to take place any time that

day, at the convenience of correctional staff. I received no response.

          6.         On January 2, 2018, I sent an email to Sheridan requesting an un-monitored

attorney-client phone call for January 5, 2018 and an in-person attorney-client meeting for

January 16, 2018.

          7.         Sheridan never responded before January 5, the date of the proposed telephone

contact. Instead, nine days later, on January 11, 2018, I received a response from Sheridan

declining the request for a January 16, 2018 in-person meeting with Mr. Sullivan due to his

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housing status in the SHU and proposing that we make the 90-minute trip to Sheridan two days

later to conduct a video visit (with no ability to pass or review documents).

         8.         In a series of emails that followed, the scheduler allowed Mr. Sullivan's defense

team to conduct an unmonitored telephone call with Mr. Sullivan on January 18, 2018. A

request for an in-person attorney-client visit to be conducted either on January 24, 2018 or

January 26, 2018 (whichever was more convenient for corrections staff) remains un-answered.

         9.         We have not been able to show or mail case-related documents or defense team

work product to Mr. Sullivan for several weeks due to reports that staff members have (1) seized

a letter from Mr. Sullivan's cell that was written by Mr. Sullivan to his attorneys; and (2)

purposefully placed oil-soaked food (canned fish) on legal documents in Mr. Sullivan's

possession, including a letter from counsel enclosing defense team work product.

          10.       We have never received any explanation for the prolonged disruption to our

attorney-client contact. We have never been told, in any other case, that an inmate's housing

status in the SHU was a reason to deny him contact with his attorneys. Our inability to meet

with or speak to our client or to rely on the attorney-client privilege to shield our mail has

impeded our ability to discharge our duty \mder the Sixth Amendment and to prepare Mr.

Sullivan's case for trial.

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Declaration in Support of Motion for Review of Detention                                                 3
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    COLUMBIA COUNTY JAIL INMATE.                      .·:"'
                                                                                               REQUEST FORM
Inmates Full Name: C.      ,.,~ ~:
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Library      Law Library:                                              Law Computer:

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Sign-Up          Children:                                                           Relationship:
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            ******Need to read pages 16-17 of the Inmate Manual £or Visiting Information******




 Other




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Date/ Time Answered:        yz,,,.75 :k}Jv
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      COLUMBIA COUNTY JAIL INMATE.REQUEST FORM
Inmates Full Name:                                                                           DOB:                                            POD/Cell:
Date·                               Booking Number(located on ID Card):

               Date Requested for use:
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Library        Law Library:                                                                                Law Computer:

Visiting       1. Visitor Name:                                                                                                    DOB:
Sign-Up               Children:                                                                                                    Relationship:
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               ******Need to read pages 16-17 of the Inmate Manual for Visiting Information******

               Explain your. issue:


 Other




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                                      Case 3:16-cv-01743-JGZ                                       Document 39                       Filed 05/09/18                Page 12 of 12



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     Inmates Full Name:                                                                           DOB:                                                 POD/Cell:
    Date:                                   Booking Number(located on ID Card):

                         Date Requested for use:
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  Library                Law Library:                                                                       Law Computer:

   Visiting              1. Visitor Name:                                                                                                    DOB:
   Sign-Up                    Children:                                                                                                      Relationship:
                              Remove/ Add                                         Approved/ Denied
   Visitor               2. Visitor Name:                                                                                           DOB:
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                         ******Need to read pages 16-17 of the Inmate Manual for Visiting Information******

                         Explain your. issue:


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